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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                          No. CR S-02-0104 LKK GGH P

12          vs.

13   ANTONIO MENDOZA-GONZALEZ,

14                  Movant.                              FINDINGS AND RECOMMENDATIONS

15                                               /

16                  The court served an order on movant’s address of record. The order was returned

17   by the postal service as undeliverable. It appears that movant has failed to comply with Local

18   Rule 83-182(f), which requires that a party appearing in propria persona inform the court of any

19   address change.

20                  Accordingly, IT IS HEREBY RECOMMENDED that:

21                  1. This action be dismissed for movant’s failure to keep the court apprised of his

22   current address (see Local Rules 83-182(f) and 11-110); and

23                  2. The Clerk of the Court be directed to close the companion civil case No. CIV-

24   S-05-1385 LKK GGH.

25                  These findings and recommendations are submitted to the United States District

26   Judge assigned to the case, pursuant to the provisions of Title 28 U.S.C. § 636(b)(l). Within
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 1   twenty days after being served with these findings and recommendations, plaintiff may file

 2   written objections with the court. The document should be captioned “Objections to Magistrate

 3   Judge’s Findings and Recommendations.” Plaintiff is advised that failure to file objections

 4   within the specified time may waive the right to appeal the District Court's order. Martinez v.

 5   Ylst, 951 F.2d 1153 (9th Cir. 1991).

 6   DATED: 1/5/06

 7
                                                          /s/ Gregory G. Hollows
 8
                                                          UNITED STATES MAGISTRATE JUDGE
 9   GGH:035
     mend0104.233
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